     Case 1:22-cv-12070-PBS   Document 141   Filed 05/20/25   Page 1 of 9



                   UNITED STATES DISTRICT COURT
                    DISTRICT OF MASSACHUSETTS
___________________________________
                                    )
JANELISSA CRUZ,                     )
                                    )
                    Plaintiff,      )
                                    )
v.                                  )
                                    )         Civil Action
OMATEX CORP., INTEPLAST GROUP,      )         No. 22-cv-12070-PBS
LTD., INTEPLAST ENGINEERED FILMS    )
INC., INTEPLAST ENGINEERED FILMS    )
WESTBOROUGH INC., JAGENBERG GROUP, )
LEMO MASCHINENBAU GMBH, and JOHN    )
DOE DEFENDANTS 3-5,                 )
                                    )
                    Defendants.     )
______________________________    ____ )
                                       )
OMATEX CORPORATION and INTEPLAST        )
GROUP CORPORATION,                      )
                                        )
           Third-Party Plaintiffs,      )
                                        )
v.                                      )
                                        )
HW TEMPS LLC, d/b/a HW STAFFING         )
SOLUTIONS,                              )
                                        )
          Third-Party Defendant.        )
_______________________________         )

                         MEMORANDUM AND ORDER

                              May 20, 2025

Saris, D.J.

                              INTRODUCTION

     Plaintiff Janelissa Cruz was injured while working as a packer

at Defendant Inteplast Group Corporation’s (“Inteplast’s”) plastic

manufacturing facility located in North Dighton, Massachusetts.


                                    1
     Case 1:22-cv-12070-PBS   Document 141   Filed 05/20/25   Page 2 of 9



Cruz was staffed at this facility by Third-Party Defendant HW Temps

LLC (“HW Temps”), a staffing agency. After her injury,                      Cruz

received compensation through HW Temps’           workers’     compensation

insurance policy. Cruz initiated this lawsuit against Inteplast to

seek additional damages for her injury. Inteplast has moved for

summary judgment on the ground that it is immune from suit under

the Massachusetts Workers’ Compensation Act. HW Temps joins in

this motion.

     After a hearing, the Court ALLOWS Inteplast and HW Temps’

joint summary judgment motion with regard to Cruz’s claims (Dkt.

103). By agreement, the Court DISMISSES Inteplast’s third-party

complaint against HW Temps (Dkt. 36) with prejudice. HW Temps’

motion for summary judgment on Inteplast’s third-party claims

(Dkt. 108) is DENIED as moot.1

                               BACKGROUND

I.   Factual Background

     Inteplast is a manufacturing company primarily engaged in the

production of plastic bags. HW Temps is a staffing firm that

supplied temporary workers to Inteplast. In November 2019, HW Temps

hired Cruz and assigned her to work at Inteplast’s North Dighton


1 The foreign defendants were never properly served. Neither party
has addressed how the motion for summary judgment affects the
liability of the remaining defendants. Therefore, any claims
against the remaining domestic defendants, Omatex Corporation,
Inteplast Engineered Films Inc., and Inteplast Engineered Films
Westborough Inc., are waived.
                                    2
      Case 1:22-cv-12070-PBS      Document 141        Filed 05/20/25    Page 3 of 9



facility. She worked as a packer, responsible for boxing plastic

bags produced by machines.

      On December 14, 2019, Cruz’s ponytail got caught in and

wrapped around a component of a manufacturing machine, ripping off

her hair and scalp. Following her injury, Cruz applied for and

received benefits under HW Temps’ workers’ compensation insurance

policy.

II.   Agreements Between Inteplast and HW Temps

      There are two agreements relevant to this dispute. The first

is the General Staffing Agreement (“GSA”) between HW Temps and

Inteplast. Under the GSA, HW Temps agreed to “[r]ecruit, screen,

interview,     hire,       and    assign       employees        to”     work     “under

[Inteplast]’s supervision, direction and control at the locations

specified on Exhibit A.” Dkt. 105-4 ¶ 1.1(a). Exhibit A lists only

one location: 5 Otis Street, Westborough, MA 01581. Furthermore,

HW Temps agreed to “[a]dd Alternate Employer Endorsement in favor

of    [Inteplast]     to    [HW    Temps]’s      workers’          compensation       and

employees’ liability insurance policy.” Id. ¶ 1.1(d). This section

does not limit the endorsement to the Westborough location. There

is no separate agreement for the North Dighton facility.

      The    second    agreement     at       issue     is    HW    Temps’     workers’

compensation        insurance       policy        issued           by    Pennsylvania

Manufacturers’      Association      Insurance        (“PMA    Policy”).       The    PMA

Policy includes an Alternate Employer Endorsement, which provides

                                          3
       Case 1:22-cv-12070-PBS    Document 141   Filed 05/20/25   Page 4 of 9



coverage to an alternate employer “WHERE REQUIRED BY WRITTEN

CONTRACT OR AGREEMENT.” Dkt. 105-6 at 96. The endorsement also

states that “[i]f an entry is shown in Item 3 of the Schedule[,]

the insurance afforded by this endorsement applies only to work

you perform . . . at the project named in the Schedule.” Id. Item

3 of the Schedule is left blank.

       The PMA Policy’s Information Page notes that “[t]his Policy

includes these Endorsement and Schedules: See Schedule of Forms

and Endorsements.” Dkt. 105-6 at 13. In the corresponding Extension

of Information Page for the Workers’ Compensation Classification

Schedule, the PMA Policy specifically lists Inteplast’s North

Dighton facility (where Cruz worked) with an effective date of

January 1, 2019. The schedule does not list Inteplast’s Westborough

facility.

                                 LEGAL STANDARD

       Summary judgment is appropriate “if the movant shows that

there is no genuine dispute as to any material fact and the movant

is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a).

“A   genuine    dispute     is   one   which    ‘a   reasonable    jury    could

resolve . . . in the favor of the non-moving party,’ and a material

issue is one with the ‘potential to affect the outcome . . . under

the applicable law.’” Kinzer v. Whole Foods Mkt., Inc., 99 F.4th

105,    108   (1st   Cir.   2024)   (alterations     in   original)    (quoting

Cherkaoui v. City of Quincy, 877 F.3d 14, 23-24 (1st Cir. 2017)).
                                        4
     Case 1:22-cv-12070-PBS    Document 141          Filed 05/20/25    Page 5 of 9



In determining whether to grant summary judgment, a court must

construe “the facts in the light most favorable to the non-moving

party” and “draw[] all reasonable inferences” in her favor. Id.

(quoting Harley-Davidson Credit Corp. v. Galvin, 807 F.3d 407, 408

(1st Cir. 2015)).

                                DISCUSSION

I.    Interpretation of the GSA and the PMA Policy

      The parties dispute whether Inteplast is immune from suit

under the Massachusetts Workers’ Compensation Act (“Act”). Under

the Act, if an employee “accepts payment of [workers’] compensation

on   account   of   personal   injury       .   .    .    [,]   such   action    shall

constitute a release to the insured of all claims or demands at

common law . . . arising from the injury.” Mass. Gen. Laws ch.

152, § 23. Massachusetts courts apply a two-prong test to determine

if an employer is immune: (1) the employer must be insured for

workers’ compensation liability, and (2) the employer must be the

employee’s “direct” employer. Wentworth v. Henry C. Becker Custom

Bldg. Ltd., 947 N.E.2d 571, 573 (Mass. 2011) (quoting Lang v.

Edward J. Lamothe Co., 479 N.E.2d 208, 209 (Mass. App. Ct. 1985)).

Courts have held that a company using a staffing agency satisfies

prong one if it is named as an additional insured through an

alternate      employer   endorsement           in       the    agency’s     workers’

compensation policy. See Molina v. State Garden, Inc., 37 N.E.3d

39, 40 (Mass. App. Ct. 2015).
                                        5
    Case 1:22-cv-12070-PBS          Document 141     Filed 05/20/25   Page 6 of 9



     All parties agree that HW Temps was Cruz’s general employer

and Inteplast was her direct employer. The central issue is whether

HW Temps’ PMA Policy extended workers’ compensation coverage to

Inteplast     at     the    North    Dighton       facility,    thereby       granting

Inteplast immunity under the Act. Cruz argues that Inteplast is

not entitled to immunity because the GSA between HW Temps and

Inteplast     only     references       Inteplast’s       Westborough      facility.

Specifically, section 1.1(a) of the GSA limits HW Temps’ staffing

obligations    to     the   site     listed    in    Exhibit    A,    which    is   the

Westborough facility, and there is no separate agreement covering

North Dighton. In Cruz’s view, the fact that HW Temps’ staffing

obligations under the GSA are limited to the Westborough facility

means that HW Temps’ obligation in section 1.1(d) of the GSA to

add an Alternate Employer Endorsement for Inteplast does not apply

to the North Dighton facility. And because HW Temps had no such

obligation with regard to the North Dighton facility, the PMA

Policy’s Alternate Employer Endorsement, which applies only “WHERE

REQUIRED BY WRITTEN CONTRACT OR AGREEMENT,” was not triggered.

Dkt. 105-6 at 96.

     Inteplast and HW Temps (together, “Defendants”) argue that

Inteplast qualifies as an alternate employer under the PMA Policy

for both facilities. They note that in section 1.1(d) of the GSA,

HW Temps agreed to add an Alternate Employer Endorsement for

Inteplast without geographic restriction. In addition, they point

                                          6
       Case 1:22-cv-12070-PBS       Document 141    Filed 05/20/25      Page 7 of 9



to the PMA Policy’s Information Page, which includes a schedule

explicitly listing Inteplast’s North Dighton facility with a start

date    of    January   1,   2019     --   while   making    no      mention    of    the

Westborough site. And while the PMA Policy’s Alternate Employer

Endorsement may be limited to a specific worksite if one is listed

in Item 3 of the endorsement, Defendants point out that Item 3 is

left blank, indicating that the policy coverage is not limited by

the Westborough location listed in section 1.1(a) of the GSA.

       After reviewing both the GSA and the PMA Policy, the Court

finds Defendants’ interpretation more persuasive. While the GSA’s

staffing terms were location-specific, HW Temps’ commitment to

designate Inteplast as an alternate employer was not. And the PMA

Policy’s      endorsement    language,         together    with   its    omission     of

location limits and the specific listing of North Dighton in the

schedule, supports the conclusion that Inteplast was covered under

the PMA Policy at the North Dighton facility. Inteplast, therefore,

satisfies the two-part test for employer immunity under the Act.

II.    Judicial Estoppel

       Cruz contends that even if Defendants persuasively argue that

the GSA’s provision requiring HW Temps to add Inteplast as an

alternate employer applies to the North Dighton location, HW Temps

should       be   estopped   from    advancing      this    argument      because     it

contradicts an earlier position HW Temps took in the litigation.

“The Supreme Court has explained that ‘judicial estoppel is an

                                           7
    Case 1:22-cv-12070-PBS   Document 141   Filed 05/20/25   Page 8 of 9



equitable doctrine invoked by a court at its discretion.’” Bos.

Redevelopment Auth. v. Nat’l Park Serv., 125 F. Supp. 3d 325, 335

(D. Mass. 2015) (quoting New Hampshire v. Maine, 532 U.S. 742, 750

(2001)), aff’d, 838 F.3d 42 (1st Cir. 2016). “The judge-made

doctrine ‘prevents a litigant from prevailing in one phase of a

case on an argument and then relying on a contradictory argument

to prevail in another phase.’” Id. (quoting Thore v. Howe, 466

F.3d 173, 181 (1st Cir. 2006)).

     Judicial estoppel generally requires satisfaction of at least

two elements. First, a party must take positions that are “directly

inconsistent, that is, mutually exclusive.” Alt. Sys. Concepts,

Inc. v. Synopsys, Inc., 374 F.3d 23, 33 (1st Cir. 2004). “Second,

the responsible party must have succeeded in persuading a court to

accept its prior position.” Id. Courts often assess a third,

discretionary consideration as well -- namely, “whether judicial

acceptance of a party’s initial position conferred a benefit on

that party.” Id.; see InterGen N.V. v. Grina, 344 F.3d 134, 144-

45 (1st Cir. 2003) (declining to apply judicial estoppel where no

advantage was gained from the earlier position).

     Cruz argues that in HW Temps’ memorandum in support of their

motion to dismiss, HW Temps stated that the GSA applied only to

the Westborough location and “d[id] not apply to the location where

[Cruz] was injured.’” Dkt. 59 at 2. Similarly, at the motion to

dismiss hearing, counsel for HW Temps declared that the GSA was

                                   8
     Case 1:22-cv-12070-PBS   Document 141   Filed 05/20/25   Page 9 of 9



inapplicable to this case and that there was “no written contract

between [HW Temps and Inteplast] for North Dighton.” Dkt. 111 at

6.

     While it is irresponsible that HW Temps initially took the

opposite position, the record does not support judicial estoppel

here because HW Temps did not successfully persuade the Court that

the GSA did not apply to the North Dighton facility.

                                  ORDER

     For the foregoing reasons, the Court ALLOWS Inteplast and HW

Temps’ joint motion for summary judgment (Dkt. 103). By agreement,

Inteplast’s third-party complaint against HW Temps (Dkt. 36) is

DIMISSED with prejudice. HW Temps’ motion for summary judgment on

Inteplast’s third-party claims (Dkt. 108) is DENIED as moot.



SO ORDERED.

                                  /s/ PATTI B. SARIS
                                  Hon. Patti B. Saris
                                  United States District Judge




                                    9
